       Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 1 of 22




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

RAMONA THURMAN BIVINS,                 )
                                       )
             Plaintiff,                )
                                       )
v.                                     )     CIVIL ACTION
                                       )     NO: 1:22-cv-04149-WMR
FELICIA FRANKLIN, in her               )
individual and official capacities;    )
ALIEKA ANDERSON, in her                )
individual and official capacities;    )
GAIL HAMBRICK, in her                  )
individual and official capacities;    )
and CLAYTON COUNTY,                    )
GEORGIA                                )
            Defendants.                )

       DEFENDANTS GAIL HAMBRICK AND CLAYTON COUNTY,
     GEORGIA’S BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS
                    PLAINTIFF’S COMPLAINT

       COME NOW, Gail Hambrick, in her individual and official capacities

(“Commissioner Hambrick” or “Defendant Hambrick”), and Clayton County,

Georgia, (“Clayton County” or “the County”), Defendants in the above-styled case,

and, pursuant to Fed.R.Civ.P. 12(b)(6), file this brief in support of their motion to

dismiss Plaintiff’s Complaint, as it relates to the causes of action against

Commissioner Hambrick and the County.
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 2 of 22




                               I.     INTRODUCTION

      Plaintiff brings claims against Commissioner Hambrick, in her individual and

official capacities, and Clayton County, Georgia following several votes by the

Clayton County Board of Commissioners (“the Board”) that Plaintiff alleges were

in retaliation for her husband’s political activity. Specifically, Plaintiff brings a First

Amendment retaliation claim and a derivative punitive damage claim against

Commissioner Hambrick. (Counts I and III).               Plaintiff also brings a First

Amendment retaliation claim and breach of contract claim against Clayton County.

(Counts 1 and II).

      Plaintiff’s First Amendment retaliation claim against Commissioner

Hambrick in her official capacity should be dismissed because it is duplicative of

Plaintiff’s claim against Clayton County. In turn, Plaintiff’s First Amendment

retaliation claim and derivative punitive damages claim against Commissioner

Hambrick in her individual capacity should be dismissed not only because the

Complaint contains insufficient allegations to support a First Amendment retaliation

claim, but also because she is entitled to qualified immunity.

      Plaintiff’s First Amendment retaliation claim against Clayton County should

also be dismissed because the County had no official policy or practice constituting

a constitutional tort. Plaintiff’s breach of contract claim against Clayton County


                                           -2-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 3 of 22




should likewise be dismissed because Plaintiff’s employment agreement with

Clayton County was ultra vires and, therefore, null and void. For these and additional

reasons set forth below, the Court should dismiss Plaintiff’s claims against

Defendants Hambrick and Clayton County in their entirety.

                        II.    FACTUAL ALLEGATIONS

      Plaintiff Ramona Bivins served Clayton County, Georgia as its Chief

Financial Officer (“CFO”) from April 8, 2013, until June 7, 2022. (Doc. 1, ¶ 9). The

five-member Board of Commissioners is the governing body of Clayton County,

Georgia. (Id., ¶ 5). The composition of the Board changed between 2019, the date

the Board entered into the employment agreement (“Agreement”) at issue in this

case, and 2022, when the Board voted to declare the Agreement ultra vires and not

to enter into another Agreement with Plaintiff. (Id., ¶ 68). At the time the relevant

votes were taken (and currently), the Board was comprised of Defendants Anderson,

Franklin and Hambrick, Commissioner DeMont Davis, and Commissioner Jeffrey

Turner, who was the Chairman. (Id., ¶¶ 2–4, 14, 23). Three members of the Board

constitute a majority. (Id., ¶ 39).

      At the Board of Commissioners’ meeting on June 7, 2022, at which all

Commissioners were present, Chairman Turner called for a scheduled vote on the

Agreement between the County and Plaintiff. (Id., ¶ 37). Plaintiff’s Agreement was


                                        -3-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 4 of 22




for a term starting July 1, 2019 and ending June 30, 2022. (Id., ¶ 17, Exhibit 1 to the

Complaint). Three Commissioners – Defendants Franklin, Anderson and Hambrick

– did not vote to enter into a new Agreement with Plaintiff. (Id., ¶ 39). Defendant

Anderson then made two motions: a motion to dismiss Plaintiff prior to the

expiration of her term, and a motion to declare Plaintiff’s Agreement ultra vires.

(Id., ¶¶ 39–41). Defendants Franklin, Anderson and Hambrick affirmatively voted

for each of Defendant Anderson’s motions. (Id.).

      Plaintiff asserts that, among other terms, the Agreement authorized the

County to pay for her to attend the Leadership and Learning in Organizations

Program at Vanderbilt University amounting to a $37,402.00 expenditure for the

County. (Id., ¶ 17). Even assuming for purposes of this Brief that the Agreement

was valid, however, the County only agreed to pay for “travel and subsistence

expenses” for “short courses, institutes, and seminars that are necessary for

[Plaintiff’s] professional development and good of [Clayton County].”1 (Exhibit 1

to the Complaint, Sec. 3). Notwithstanding the Agreement’s language, Plaintiff

alleges that Chairman Turner authorized the $37,402.00 education expenditure. (Id.,

¶ 81). Plaintiff acknowledges that at a subsequent Board meeting, the Board voted



      1
         As discussed below, Defendants deny that the Agreement was a valid
contract.

                                         -4-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 5 of 22




to remove “significant responsibilities” from Chairman Turner and sought restitution

of the $37,402.00 expense he had unilaterally authorized. (Id., ¶¶ 59, 77, 81).

      Plaintiff also asserts that the Agreement authorized severance for her if she

was involuntarily removed from the CFO position. (Id., ¶ 19). Specially, the

Agreement contemplated a lump sum payment of six months of Plaintiff’s salary

unless she either voluntarily resigned from the CFO position or was convicted of a

felony. (Exhibit 1 to the Complaint, Sec. 7). Plaintiff estimates that her salary was

$169,707.71 and, therefore, she alleges that she is entitled to receive $84,853.86 in

severance.    (Id., ¶¶ 20).    Following the Board’s declaration that Plaintiff’s

Agreement was ultra vires, it has not paid Plaintiff’s severance. (Id., ¶ 42).

      Generally, Plaintiff alleges that the Defendants retaliated against her because

her husband was campaigning for a candidate who was running against

Commissioner Davis. (Id., ¶ 52). Although Plaintiff makes several conclusory

allegations against “the Defendants,” Plaintiff’s specific allegations related to

Defendant Hambrick’s alleged motive to retaliate against Plaintiff are:

      • Commissioner Hambrick knew that Ms. Bivins was married to Mr.

          Bivins (Id., ¶ 21); and

      • Commissioner Hambrick “knew that Mr. Bivins openly supported

          Commissioner Davis’s reelection campaign” (Id., ¶ 24).


                                         -5-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 6 of 22




No further substance is offered as to the claims against Commissioner Hambrick. In

essence, Plaintiff fails to allege with any specific facts that Commissioner

Hambrick’s vote was motivated in any way by Mr. Bivins’s alleged political activity.

            III.   ARGUMENT AND CITATION OF AUTHORITY

      “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atlantic Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the

plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678 (citing

Twombly, 550 U.S. at 556). The plausibility standard “is not akin to a ‘probability

requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). “Where a complaint pleads

facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the

line between possibility and plausibility of entitlement to relief.’” Id. (quoting

Twombly, 550 U.S. at 557). Moreover, “threadbare recitals of the elements of a

cause of action, supported by mere conclusory statements, do not suffice.” Id. (citing

Twombly, 550 U.S. at 555) (“a formulaic recitation of the elements of a cause of

action will not do”).


                                         -6-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 7 of 22




      In determining whether a complaint survives a motion to dismiss, courts have

applied a two-step analysis. The review begins by identifying allegations within the

complaint that are mere conclusions, “[as] [c]onclusory allegations are not entitled

to the assumption of truth.” Estate of May v. Fulton County, 2020 WL 5541086, at

*3 (N.D. Ga. Aug. 13, 2020) (citing McCullough v. Finley, 907 F.3d 1324, 1333

(11th Cir. 2018)). Then, “‘after disregarding conclusory allegations, [the Court]

assume[s] any remaining factual allegations are true, [identifies the elements that the

plaintiff must plead to state a claim] and determine[s] whether those allegations

‘plausibly give rise to an entitlement to relief.’” Id. (quoting Finley, 907 F.3d at

1333) (alterations in original)). “[W]hile notice pleading may not require that the

pleader allege a specific fact to cover every element or allege with precision each

element of a claim, it is still necessary that a complaint contain either direct or

inferential allegations respecting all the material elements necessary to sustain a

recovery under some viable legal theory." Fin. Sec. Assur., Inc. v. Stephens, Inc.,

500 F.3d 1276, 1282-83 (11th Cir. 2007) (punctuation omitted). This Court may

also consider the applicable contract, which was attached to the Complaint, without

converting this into a motion for summary judgment.2


      2
        See Harris v. Ivax Corp., 182 F.3d 799, 802 n.2 (11th Cir. 1999) (document
attached to a motion to dismiss may be considered by the court without converting
the motion into one for summary judgment if the attached document is: (1) central

                                         -7-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 8 of 22




A.    Plaintiff’s First Amendment Claim Against Defendant Hambrick in Her
      Official Capacity is Duplicative and Should be Dismissed. (Count I)
      Plaintiff’s First Amendment retaliation claim against Defendant Hambrick in

her official capacity should be dismissed as redundant. Official capacity claims are

simply “another way of pleading an action against an entity of which an officer is an

agent.” Busby v. City of Orlando, 931 F.2d 764, 776 (11th Cir. 1991) (citing

Kentucky v. Graham, 473 U.S. 159, 165 (1985)). That means that “[w]hen a plaintiff

chooses to sue a local governmental entity directly, it is then merely superfluous . .

. also to name as defendant the individual official acting in his or her official

capacity.” Payne v. DeKalb Cnty., 414 F.Supp. 2d 1158, 1179 (N.D. Ga. 2004).

      Here, Plaintiff alleges that Commissioner Hambrick was acting “under color

of state and local law” when she allegedly retaliated against Plaintiff. (Doc. 1, ¶

102). Since Plaintiff has also sued the County for the same claim, it is “merely

superfluous” for Plaintiff to name Hambrick in her official capacity. Accordingly,

Plaintiff’s First Amendment retaliation claim against Commissioner Hambrick in

her official capacity is duplicative and should be dismissed.




to the plaintiff's claim; and (2) undisputed); and Massih v. Jim Moran & Assoc.’s,
Inc., 524 F. Supp. 2d 1324, 1328 (M.D. Ga. 2008) (considering contract when ruling
on a motion for judgment on the pleadings and dismissing both contractual and tort
claims arising out of the contract).

                                        -8-
      Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 9 of 22




B.    Plaintiff’s First Amendment Claim against Defendant Hambrick in Her
      Individual Capacity Should be Dismissed. (Count 1)

      1.     The Complaint does not plead a plausible First Amendment claim
             against Defendant Hambrick.

      Plaintiff fails to allege any plausible direct or inferential allegations

supporting her First Amendment claim against Defendant Hambrick. To state a First

Amendment retaliation claim, “a plaintiff must establish, among other things, a

causal connection between the retaliatory action[] and the speech–i.e., that the

defendant’s retaliatory motive was the cause of the constitutional deprivation.”

Watkins v. Central Broward Regional Park, 799 Fed. Appx. 659, 664 (11th Cir.

2020). “Section 1983 requires proof of an affirmative causal connection between

the official’s acts or omissions and the alleged constitutional deprivation.” Zatler v.

Wainwright, 802 F.2d 397, 401 (11th Cir. 1986). The Eleventh Circuit has identified

“several relevant factors to consider when determining if a plaintiff’s speech is a

substantial motivating factor in [the employment action taken].” Polion v. City of

Greensboro, 614 Fed. Appx. 396, 398-99 (11th Cir. 2015). These factors include

whether the employer made comments connecting the termination to the protected

speech, whether the employer provided varied explanations for the terminations,

who initiated the proceedings against the employee, whether there was evidence of

the employer’s hostility, and whether the employer had a motive to retaliate. Id.


                                         -9-
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 10 of 22




      Plaintiff fails to plead any of these factors against Defendant Hambrick.

Instead, the only facts Plaintiff alleges to support her allegation that Commissioner

Hambrick had a retaliatory motive are (1) she knew that Plaintiff was married to

Charlton Bivins, Plaintiff’s husband; and (2) she knew that Mr. Bivens supported

Commissioner Davis’s reelection campaign. (Doc. 1, ¶¶ 21, 24, 39–41). That is the

extent of the allegations demonstrating Defendant Hambrick’s alleged retaliatory

motive upon which Plaintiff relies in her attempt to shoehorn Commissioner

Hambrick into a First Amendment retaliation claim. Here, even taken as true for

purposes of this Motion, Plaintiff’s allegations fail to set forth even the minimal

“threadbare recitals of the elements of a cause of action” under § 1983 against

Defendant Hambrick that would support a plausible First Amendment retaliation

claim against her. Iqbal, 556 U.S. at 678. Accordingly, Plaintiff’s First Amendment

claim against Defendant Hambrick should be dismissed.

      2.     Defendant Hambrick has qualified immunity from Plaintiff’s First
             Amendment retaliation claim.

      “The defense of qualified immunity completely protects government officials

performing discretionary functions from suit in their individual capacities unless

their conduct violates ‘clearly established’ statutory or constitutional rights of which

a reasonable [official] would have known.’” Marbury v. Warden, 936 F.3d 1227,

1232 (11th Cir. 2019) (quoting Hope v. Pelzer, 536 U.S. 730, 739 (2002)).

                                         - 10 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 11 of 22




Significantly, the immunity is “from suit rather than a mere defense to liability.”

Mitchell v. Forsyth, 472 U.S. 511, 525 (1985). As such, the Supreme Court has

“stressed the importance of resolving immunity questions at the earliest possible

stage in litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991). To be entitled to

qualified immunity, the defendants “must establish that “[they] were acting within

the scope of [their] discretionary authority.” Millspaugh v. Cobb Cnty. Fire and

Emergency     Svcs.,   No.    22-10132,    (11th   Cir.   November      22,   2022),

https://media.ca11.uscourts.gov/opinions/unpub/files/202210132.pdf. (Cleaned up).

Here, Defendants were clearly “exercising the discretionary function of casting their

votes” when they voted on the employment action at issue. See, e.g., Smith v.

Lomas, 45 F.3d 402, 406 (11th Cir. 1995). Once the discretionary authority issue is

resolved, the burden shifts to plaintiff to show that: (1) defendant violated her

constitutional rights; and (2) defendant’s conduct was prohibited by clearly

established law. Plumhoff v. Rickard, 134 S. Ct. 2012, 2020 (2014).

      To overcome qualified immunity, a plaintiff must point to specific actions of

each defendant which violate clearly established law. Montoute v. Carr, 114 F.3d

181, 184 (11th Cir. 1997) (“Once an officer or official has raised the defense of

qualified immunity, the burden of persuasion as to that issue is on the plaintiff.”).

“This burden is not easily discharged: That qualified immunity protects government


                                       - 11 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 12 of 22




actors is the usual rule; only in exceptional cases will government actors have no

shield against claims made against them in their individual capacities.” Jones v.

Ward, 514 F. App’x 843, 846-47 (11th Cir. 2013). The Eleventh Circuit has held

“many times” that “if case law, in factual terms, has not staked out a bright line,

qualified immunity almost always protects the defendant.” Priester v. City of

Riviera Beach, 208 F.3d 919, 926 (11th Cir. 2000). A “plaintiff cannot rely on

general, conclusory allegations or broad legal truisms to show that a right is clearly

established.” Kelly v. Curtis, 21 F.3d 1544, 1550 (11th Cir. 1994); White v. Pauly,

137 S. Ct. 548, 552 (2017) (reiterating the longstanding principle that clearly

established law should not be defined at a high level of generality and must be

particularized to the facts of the case.) “The salient question in a qualified immunity

analysis is whether the official had fair warning that their conduct was unlawful.”

Jackson v. Cowan, 2022 WL 3973705, *4 (11th Cir. September 1, 2022). (Cleaned

up). The law can be clearly established for qualified immunity purposes only by

decisions of the United States Supreme Court, the Eleventh Circuit Court of Appeals,

or the Georgia Supreme Court. Jenkins v. Talladega City Bd. of Educ., 115 F.3d

821, 823 n. 4 (11th Cir. 1997).3


      3
        The Supreme Court recently reinforced this principle in Rivas-Villegas v.
Cortesluna, 142 S. Ct. 4, 7-8 (2021) (reversing lower court’s denial of qualified
immunity). In essence, a right is only clearly established when it is “sufficiently

                                        - 12 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 13 of 22




      As noted above, to establish a First Amendment retaliation claim “a plaintiff

must establish, among other things, a causal connection between the retaliatory

action[] and the speech–i.e., that the defendant’s retaliatory motive was the cause of

the constitutional deprivation.” Watkins, 799 Fed. Appx.at 664; Pickering v. Board

of Education, 391 U.S. 563 (1968); Fikes v. City of Daphne, 79 F.3d 1079, 1084-

1085 (11th Cir.1996). Similarly, the Eleventh Circuit has identified the types of

conduct that are indicative of retaliatory motive. See Polion, 614 Fed. Appx. at 398-

99; see Para. B, 1 above. Here, Plaintiff fails to allege that Commissioner Hambrick

engaged in any suspect conduct that would support even an inference that her votes

were motivated by an unconstitutional reason. Instead, on its face, the Complaint

establishes that Commissioner Hambrick was merely concerned (rightly so) about

the terms of Plaintiff’s Agreement, which she believed to be ultra vires. (Id., ¶¶ 59,

77, 81). Even under the forgiving standards of a motion to dismiss, Plaintiff has

failed to connect the dots and establish that Commissioner Hambrick had a motive

to retaliate based on protected speech, much less establish the requisite causal

connection between an alleged motive and Commissioner Hambrick’s votes.

Commissioner Hambrick also did not violate any clearly established law. Simply


clear that every reasonable official would have understood that what he is doing
violates that right.” Mullenix v. Luna, 577 U. S. 7, 11 (2015) (per curiam) (internal
quotation marks omitted).

                                        - 13 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 14 of 22




put, Commissioner Hambrick did not have “fair warning” that she was precluded

from voting to end a contract she believed was ultra vires just because Plaintiff’s

husband was involved in a political campaign. Therefore, Commissioner Hambrick

is entitled to qualified immunity.

C.    Plaintiff’s Claims Against Clayton County, Georgia Fail. (Counts I and
      II)

      1.     Plaintiff’s First Amendment retaliation claim against Clayton County
             should be dismissed. (Count I)

      Plaintiff’s attempt to hold Clayton County liable for the votes related to her

Agreement fails because Plaintiff cannot establish that the majority of the

Commissioners were motivated by an unconstitutional motive. It is “well settled

law” that a local government “may only be held liable under Section 1983 if action

pursuant to official policy of some nature caused a constitutional tort.” Matthews v.

Columbia Cnty., 294 F.3d 1294, 1297 (11th Cir. 2002). (Cleaned up); Monell v.

Dep’t of Soc. Servs. of N.Y.C., 436 U.S. 658, 690-694 (1978); and Khoury v.

Miami-Dade Cnty. Sh. Bd, 4 F.4th 1118, 1131 (11th Cir. 2021) (to succeed on a

Monell claim, a plaintiff must show that the “municipality itself,” through a policy

or practice, “cause[d] the constitutional violation.”). In the case of an entity, like

Clayton County, official policy can only be shown by a majority of the final

decisionmakers. Mathews, 294 F.3d at 1297 (citing Mason v. Village of El Portal,


                                        - 14 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 15 of 22




240 F.3d 1337, 1339 (11th Cir. 2001) (summary judgment granted to municipality

when plaintiff failed to establish majority of the voting members were acting on an

unconstitutional motive)); Church v. City of Huntsville, 30 F.3d 1332, 1343 (11th

Cir. 1994) (comments of one councilman not enough to establish the council had an

unconstitutional policy)); See also Smith v. Cobb Cnty. School District, 1:10-CV-

848-TWT, 2013 WL 4028856, at *5 (N.D. Ga. August 7, 2013) (plaintiff failed to

show that a majority of the Board approved her termination in retaliation for

protected speech). Unconstitutional motive cannot be imputed or inferred from one

member of a group to all members of the group. Matthews, 294 F.3d at 1297.

Instead, a plaintiff must demonstrate that every voting member of the majority not

only knew of the unconstitutional motive of the other member, but also that

unconstitutional reason motivated the voting member. Id. at 1298; Smith, 2013 WL

4028856, at *6. If a plaintiff cannot establish that a majority of voters were “actually

motivated by an unconstitutional consideration,” the local government body has no

liability under § 1983. Matthews, 294 F.3d at 1298.

      Here, Commissioner Hambrick does not possess final policymaking authority

by herself. Instead, that authority rests with the five member Clayton County Board

of Commissioners, with official policy being enacted by, at a minimum, a majority

vote of three commissioners. Three Commissioners, Hambrick, Anderson and


                                         - 15 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 16 of 22




Franklin, cast the votes at issue in this case. Although Plaintiff has named each of

those Board Members as defendants, as noted above, she has not sufficiently pled a

First Amendment retaliation case against Commissioner Hambrick. Critically, at

most, Plaintiff can only establish that Commissioner Hambrick joined the votes–not

that she was motivated to do so by an unconstitutional reason. Commissioner

Hambrick, then, cannot be part of the majority allegedly voting for an alleged

unconstitutional reason, leaving only two votes allegedly cast for unconstitutional

reasons. Plaintiff, therefore, cannot show that a majority of the Board voted against

her in retaliation for her husband’s campaign activities. Plaintiff’s failure to show an

alleged constitutional violation by a majority of the Board necessarily means that

there was no unconstitutional “official policy” by the County, and no resulting

liability for the County. Accordingly, as the claim against Defendant Hambrick

fails, so too does the claim against Clayton County.

      2.     Plaintiff’s Breach of Contract Claim fails because her Agreement with
             Clayton County was void.

      Plaintiff’s breach of contract claim fails for the simple reason that Plaintiff’s

Agreement with Clayton County was ultra vires and, therefore, void. Georgia law

provides that “One council may not, by an ordinance, bind itself or its successors so

as to prevent legislation in matter of municipal government.” O.C.G.A. § 36-30-3(a).

“[T]he principle stated in O.C.G.A. § 36-30-3 applies to counties as fully as it applies

                                         - 16 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 17 of 22




to municipalities.” Madden v. Bellow, 260 Ga. 530, 531 (1990). Further, this

prohibition extends not only to ordinances, but also to “the execution of

governmental contracts.” City of McDonough v. Campbell, 289 Ga. 216, 217 (2011)

(citing Ledbetter Bros. v. Floyd Cnty, 237 Ga. 22, 24 (1976)). “To the extent a

governmental contract impinges on a municipality’s ability to legislate freely, the

contract is ultra vires and void.” Campbell, 289 Ga. at 217.

       In Campbell, the City approved a contract for an employee that provided,

among other terms, for automatic renewals every twelve months and, in the event

the City terminated the contract, twelve months of severance pay, which equated to

$55,432.00. Id. at 216. The year following the City’s authorization of that contract,

new council members took office and subsequently declared the employee’s contract

null and void and refused to pay severance. Following a jury verdict in favor of the

employee, the Georgia Supreme Court reversed the judgment, finding that the

contract was ultra vires and void. Id. at 219. In reaching its decision, the Court

reiterated that “[s]trictest scrutiny must be given to governmental actions which

require increased appropriations or taxes by future governing authorities.” Id. at 217.

It also noted that “the employment contract between the city and Campbell restricts

the ability of a successor council to terminate [the employee’s] employment and to

enter an agreement with others because the severance provision renders the cost of


                                        - 17 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 18 of 22




terminating the contract exorbitant.” Id. at 218. The Court found the “substantial

financial obligation on the party of the City” to be a significant factor in determining

that the contract was ultra vires and void. Id. at 219.

      The similarities between Campbell and the instant case are unmistakable.

Plaintiff’s Agreement bound Clayton County to a multi-year contract and remained

in effect through changes in the composition of the Board. (Exhibit 1 to Plaintiff’s

Complaint). In other words, the Board that cast the votes at issue in this case was

not the same Board that allegedly authorized Plaintiff’s Agreement. (Doc. 1, ¶¶ 67–

69). Similarly, like Campbell, Plaintiff’s Agreement contained a lump sum, buy-out

provision if Plaintiff’s Agreement was not renewed. (Exhibit 1 to the Complaint, ¶

7). Specifically, the Agreement obligated the County to pay Plaintiff “compensation

for a period of six (6) months following the termination,” which Plaintiff alleges

equates to $84,853.86. (Id.). Thus, as in Campbell, whether the price of terminating

Plaintiff’s Agreement is called “exorbitant” or “substantial,” it clearly restricted the

Board’s ability to terminate her employment and enter an agreement with others.

Following Georgia precedent, therefore, Plaintiff’s Agreement exceeded the Board’s

statutory authority and was ultra vires and void. Accordingly, Plaintiff’s breach of

contract claim, which seeks the very relief that renders the contract void, fails.




                                         - 18 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 19 of 22




D.    Plaintiff’s Claims for Punitive Damages and Attorney’s Fees Should be
      Dismissed. (Count III)
      Should the underlying claims against the Defendants be dismissed, Plaintiff’s

claims for punitive damages and attorney’s fees under O.C.G.A. § 13-6-11 would

also be subject to dismissal as well. See J. Andrew Lunsford Properties, LLC v.

Davis, 257 Ga. App. 720, 722, 572 S.E.2d 682, 685 (2002) (“[T]he claims seeking

attorney fees and punitive damages were properly dismissed as derivative of the

other dismissed claims.”); OFS Fitel, LLC v. Epstein, Becker & Green, P.C., 549

F.3d 1344, 1357 (11th Cir. 2008) (finding that plaintiffs’ claims for punitive

damages and attorney’s fees cannot survive without an underlying claim against

defendants). Additionally, there are no factual allegations in the complaint of

“willful misconduct, malice, fraud, wantonness, oppression, or that entire want of

care which would raise the presumption of conscious indifference to consequences”

or bad faith or stubborn litigiousness to justify an award of punitive damages or

attorney’s fees under state law. Nor are there any factual allegations of “malice” or

“reckless indifference” to Plaintiff’s federally protected rights that would justify an

award of punitive damages against Defendants under federal law. See Kolstad v.

Am. Dental Ass’n, 527 U.S. 526, 535 (1999) (stating that “malice or . . . reckless

indifference to the [plaintiff’s] federally protected rights” justifies an award of

punitive damages under Section 1983); Reynolds v. CSX Transportation, Inc., 115


                                        - 19 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 20 of 22




F.3d 860, 869 (11th Cir. 1997). Therefore, Plaintiff’s claims for punitive damages

and attorney’s fees should be dismissed.

                             IV.    CONCLUSION

      For all the reasons set forth above, Gail Hambrick and Clayton County,

Georgia’s Motion to Dismiss should be granted, and all of Plaintiff’s claims pled

against them (Counts I–III) should be dismissed.

                                      FREEMAN MATHIS & GARY, LLP
                                      /s/ Kirsten S. Daughdril
                                      Jack R. Hancock
                                      Georgia Bar No. 322450
                                      Jack.hancock@fmglaw.com
                                      Ali Sabzevari
                                      Georgia Bar No. 941527
                                      asabzevari@fmglaw.com
                                      John D. Bennett
                                      Georgia Bar No. 059212
                                      jbennett@fmglaw.com
                                      Kirsten S. Daughdril
                                      Georgia Bar No. 633350
                                      Kirsten.daughdril@fmglaw.com

                                      Attorneys for Defendants Clayton County,
                                      Georgia and Gail Hambrick

100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
T: 770.818.0000
F: 770.937.9960



                                      - 20 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 21 of 22




                     CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has been

prepared in compliance with Local Rule 5.1(C) (Times New Roman font, 14-point).

      This 5th day of December, 2022.

                                     FREEMAN MATHIS & GARY, LLP

                                     /s/ Kirsten S. Daughdril
                                     Kirsten S. Daughdril
                                     Georgia Bar No. 633350

100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
T: 770.818.0000
F: 770.937.9960
E: Kirsten.daughdril@fmglaw.com




                                        - 21 -
     Case 1:22-cv-04149-WMR Document 22-1 Filed 12/05/22 Page 22 of 22




                        CERTIFICATE OF SERVICE
      I hereby certify that I have this day electronically submitted the foregoing

DEFENDANTS         GAIL      HAMBRICK            AND    CLAYTON       COUNTY,

GEORGIA’S BRIEF IN SUPPORT OF THEIR MOTION TO DISMISS

PLAINTIFF’S COMPLAINT to the Clerk of Court using the CM/ECF system

which will automatically send electronic mail notification of such filing to all

counsel of record who are CM/ECF system participants.

      This 5th day of December, 2022.

                                     FREEMAN MATHIS & GARY, LLP

                                     /s/ Kirsten S. Daughdril
                                     Kirsten S. Daughdril
                                     Georgia Bar No. 633350

                                     Attorney for Defendants Clayton County,
                                     Georgia and Gail Hambrick


100 Galleria Parkway, Suite 1600
Atlanta, Georgia 30339-5948
T: 770.818.0000
F: 770.937.9960
E: Kirsten.daughdril@fmglaw.com




                                        - 22 -
